       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Michael A. Oley
        v. Lisa S. Branch
        Record No. 1857-13-2
        Opinion rendered by Judge Humphreys on
        September 9, 2014

    2. Ronald Taft Davis, III
        v. Commonwealth of Virginia
        Record No. 1873-12-2
        En Banc order rendered by Judge Petty on
        October 21, 2014

    3. Christopher Wayne Butler
        v. Commonwealth of Virginia
        Record No. 1213-13-2
        Opinion rendered by Judge Frank on
        October 28, 2014

    4. Carlton Shell
        v. Commonwealth of Virginia
        Record No. 2070-13-1
        Opinion rendered by Chief Judge Felton on
        October 28, 2014

    5. Gene Anthony Brown
       v. Commonwealth of Virginia
       Record No. 0269-13-3
       Opinion rendered by Chief Judge Huff on
        November 4, 2014

    6. Keith Boatright
        v. Wise County Department of Social Services
        Record No. 0789-14-3
        Opinion rendered by Chief Judge Huff on
        November 12, 2-14
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Derrick Renard Powell
   v. Commonwealth of Virginia
   Record No. 1825-12-3
   Opinion rendered by Senior Judge Annunziata
    on November 26, 2013
   Judgment of Court of Appeals affirmed by opinion rendered on
    January 8, 2015 (132028)

2. Kepa, Inc., d/b/a She-Sha Café and Hookah Lounge
   v. Virginia Deparmtment of Health
   Record No. 1164-12-3
   En Banc opinion rendered by Judge Petty
    on December 17, 2013
   Judgment of Court of Appeals reversed and final judgment entered finding
    appellant not exempt from regulation (140100)

3. Cindy Lynn Whitehurst
   v. Commonwealth of Virginia
   Record No. 0531-13-1
   Opinion rendered by Judge Frank
     on March 11, 2014
   Refused (140567)

4. Joseph Alfonso Papol
    v. Commonwealth of Virginia
   Record No. 1765-12-1
    Opinion rendered by Judge Kelsey
     on March 18, 2014
    Refused (140760)

5. Raheem Chabezz Johnson
   v. Commonwealth of Virginia
   Record No. 1941-12-3
   Opinion rendered by Judge Beales
    on March 25, 2014
    Dismissed pursuant to Rule 5:14(1) (140679)

6 Michael Ryan Bruton
   v. Commonwealth of Virginia
  Record No. 1636-12-1
   Opinion rendered by Judge Alston
    on April 1, 2014
   Refused (140738)
7. Robert Wayne Dawson, II
   v. Commonwealth of Virginia
   Record No. 1226-13-2
   Opinion rendered by Judge Humphreys
    on May 27, 2014
   Refused (141000)

8. Douglas R. Linton
   v. Debra A. Linton
   Record No. 2358-13-4
   Opinion rendered by Judge Frank
    on June 17, 2014
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (141303)
